                   Case 23-10253-KBO              Doc 757       Filed 02/23/24         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 7

    AKORN HOLDING COMPANY LLC,                              Case No. 23-10253 (KBO)
    et al 1                                                 (Jointly Administered)
                    Debtors.
                                                            Related Doc. No.            745

  CERTIFICATE OF NO OBJECTION REGARDING TRUSTEE'S MOTION FOR
 ENTRY OF AN ORDER (I) AUTHORIZING ASSUMPTION AND ASSIGNMENT OF
 CERTAIN EXECUTORY CONTRACTS TO OPHTAPHARM AG, (II) APPROVING
  ASSIGNMENT CONDITIONS, (III) AUTHORIZING REJECTION OF CERTAIN
EXECUTORY CONTRACTS, (IV) AUTHORIZING THE TRANSFER OF TSA ASSETS,
                AND (V) GRANTING RELATED RELIEF

             I, John T. Carroll, III, counsel to George L. Miller, Chapter 7 Trustee (the “Trustee”) for

the Estate of the above-captioned Debtors (the “Debtors”) hereby certify that as of the date

hereof, I have received no answer, objection or other responsive pleading to the Trustee’s Motion

for Entry of an Order (I) Authorizing Assumption and Assignment of Certain Executory

Contracts to Ophtapharm AG, (II) Approving Assignment Conditions, (III) Authorizing Rejection

of Certain Executory Contracts, (IV) Authorizing the Transfer of TSA Assets, and (V) Granting

Related Relief [Filed 2/6/2024; Docket No. 745] (the “Motion”).

             The undersigned further certifies that I have caused the Court’s docket in this case to be

reviewed and no answer, objection, or other responsive pleading to the Motion appears thereon.

Pursuant to the Notice of Motion, objections to same were to be filed and served no later than

February 21, 2024 at 4:00 p.m. (EST).




1
      The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
      and cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate
      Company LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-
      10255. The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.


68692757\1 6010823/00574256
                 Case 23-10253-KBO      Doc 757       Filed 02/23/24   Page 2 of 2




         It is hereby respectfully requested that the proposed Order as originally filed with the

Motion be entered at the earliest convenience of the Court.




Dated: February 23, 2024                                  COZEN O’CONNOR
       Wilmington, Delaware

                                                    By:   /s/ John T. Carroll, III
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                                                          Chapter 7 Trustee




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